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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :     Case No. 21-CR-00078 (RCL)
               v.                                     :
                                                      :
JOHN EARLE SULLIVAN,                                  :
                                                      :
                                                      :
               Defendant.                             :




                                NOTICE OF WITHDRAWAL

       Please be advised that Assistant United States Attorney Joseph H. Huynh withdraws as

counsel in the above-entitled case based on expiration of his detail with the U.S. Attorney’s

office for the District of Columbia. Accordingly, service of pleadings and correspondence

should continue to be sent to Assistant U.S. Attorneys remaining on this matter.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                                     /s/ Joseph H. Huynh
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